           Case 1:21-cr-00658-JMF Document 12 Filed 11/16/21 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                                   STIPULATED
                                                                           PROTECTIVE ORDER
                    - V. -
                                                                           21 Cr. 658 (IMF)
MOHAMMAD MALEK BALOUCHZEHI,
 a/Ida "Malek Khan,"

                                        Defendant.

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JESSE M. FURMAN, District Judge:

         WHEREAS, MOHAMMAD MALEK BALOUCHZEHI, the defendant, has sought

discovery from the Government pursuant to Rule 16 of the Federal Rules of Criminal Procedure,

including certain audio and video recordings, photographs, and electronic communications

recorded by and/or involving one or more undercover law enforcement officers or confidential

sources;

         WHEREAS, the Government recognizes its obligation to provide such discovery

materials to the defendant, consistent with safety considerations and the confidentiality and

integrity of ongoing investigations;

         WHEREAS, the discovery materials that the Government intends to provide to the

defendant contain ce1iain materials that, if disseminated to third parties, could, among other

things, impede ongoing investigations or disclose confidential or personal identifying

information of witnesses;

         WHEREAS, in the interest of expediting the discovery process, the defendant, by his

attorney, David Stern, Esq., consents to the entry of this Order;
            Case 1:21-cr-00658-JMF Document 12 Filed 11/16/21 Page 2 of 3




        IT IS HEREBY ORDERED that, pursuant to Federal Rule of Criminal Procedure 16(d)

and subject to the additional limitations set forth below, the discovery materials provided by the

Government to defense counsel shall not be further disseminated by the defendant or his counsel

to any individuals, organizations or other entities, other than members of the defense team

(limited to: counsel of record; paralegals, investigators, translators, litigation support personnel,

or secretarial staff assisting counsel of record; and the defendant);

        IT IS FURTHER ORDERED that the discovery materials or their contents may not be

provided to any foreign persons or entities (except if such persons or entities are members of the

defense team) and may not be transmitted outside of the United States for any purpose;

        IT IS FURTHER ORDERED that each of the individuals to whom disclosure of the

discovery materials is made shall be provided a copy of this Protective Order by defense counsel

and will be advised by defense counsel that he or she shall not fmther disseminate or discuss the

materials and must follow the terms of this Protective Order;

        IT IS FURTHER ORDERED that defense counsel may seek authorization of the Comt,

with notice to the Government, to provide ce1tain specified discovery materials to persons whose

access to discovery materials is otherwise prohibited by the preceding paragraphs, if it is

determined by the Court that such access is necessary for the purpose of preparing the defense of

the case;

       IT IS FURTHER ORDERED that all discovery materials are to be provided to the

defendant, and used by the defense team, solely for the purpose of allowing the defendant to

prepare his defense to the charges in the indictment, and that none of the discovery materials

produced by the Government to the defendant shall be disseminated to any other third party in a

manner that is inconsistent with the preceding paragraphs;



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        Case 1:21-cr-00658-JMF Document 12 Filed 11/16/21 Page 3 of 3




        IT IS FURTHER ORDERED that, at the conclusion of this case, defense counsel shall

return to the Government all copies of the discovery materials provided in this case;

        IT IS FURTHER ORDERED that nothing in this Order prohibits the media from

requesting copies of any items that are received by the Court as public exhibits at a hearing, trial,

or other proceeding; and

       IT IS FURTHER ORDERED that nothing in this Order shall preclude the Government

from seeking a further protective order pursuant to Rule 16(d) as to paiticular items of discovery

material.

       The Court retains discretion whether to afford protected treatment to any protected

document or information contained in any pi"otected document submitted to the Court in

connection with any motion, application, or proceeding that may result in an order and/or

decision by the Court.




                                                          I/ //r /�(
                                                      Date




SO ORDERED:


                                                      November 16, 2021
HON. JESSE M. FURMAN                                  Date
UNITED STATES DISTRICT JUDGE




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